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                              EXHIBIT Q
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  MEMORANDUM

  TO:            Deputy Supervisor, Eric Hofmeister, Town of Islip
                 Councilman Anthony Senft, Town of Islip (and Town liaison to the Parks
                 Department)
  FROM:          New York Communities for Change
                 Make the Road New York
  DATE:          May 14, 2014

  SUBJECT:       Toxic Dumping in Roberto Clemente Park and Additional Sites


  As membership-based community organizations working in Brentwood and Central Islip, we write
  on behalf of local residents to share our grave concerns regarding the toxic dumping at Roberto
  Clemente Park in Brentwood and other nearby sites and to communicate our recommendations for
  addressing this tragic situation and the systematic neglect that preceded it.
  Background
  Beginning on May 6th, residents of Brentwood and Central Islip have been shocked by the
  revelations that asbestos-ridden waste has been dumped in Roberto Clemente Park and other nearby
  sites. Community members have experienced a range of reactions, including grave concerns
  regarding: 1) environmental impact, 2) public health consequences, and 3) where children and
  families will be able to recreate this summer. Below, we offer our recommendations for addressing
  these concerns, but we first outline how the illegal dumping uncovered by the District Attorney’s
  investigation is part of a broader pattern of neglect of our communities that began well before the
  most recent incident.
  Following Superstorm Sandy, the Town of Islip announced that the pool in Roberto Clemente Park
  would be closed. Residents were gravely concerned, particularly given that the closure was
  disparately impacting communities of color, while other areas of the Town retained their facilities.
  NYCC and its allies collected petitions from concerned residents, and the Town responded by
  offering to send youth by bus to a pool in West Islip. This proved to be an inadequate solution that
  did not serve residents. Moreover, the Town abruptly stopped offering the limited service. The
  Town refused to explain why Roberto Clemente Park would not be repaired, and after further
  community petitioning efforts to meet with then-Commissioner Joseph Montouri, the Town
  remained vague and noncommittal.
  At the end of the summer of 2013, the Town announced funding available for the reopening the
  pool in June 2014, and the Town agreed to a community forum at the Brentwood library in early
  spring 2014. Meanwhile, NYCC uncovered neglect of other nearby parks, including Lowell Avenue
  Park in Central Islip, which had become an unsafe center where people congregated to consume
  alcohol and drugs. After roughly 200 residents signed a petition demanding the Town make their
  local park safe, Town officials refused to participate in the forum within 48 hours of the event.




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  Throughout these past two years, the Town’s inaction has left residents continually disappointed
  that the Town has made no significant effort to repair the parks and allow our communities to enjoy
  adequate recreational facilities.
  The most shocking event of all, of course, came on May 6th, when community members learned that
  the District Attorney’s office was investigating illegal dumping in Roberto Clemente Park. Our
  members are absolutely appalled at the discovery of toxic chemicals being dumped in our
  neighborhoods under the Town’s supervision. We fear not only for the health and environment of
  our communities, but also that for the second consecutive summer communities will not have clean
  parks to enjoy in their neighborhoods.
  Recommendations
  We demand that the Town take immediate action to address 1) the environmental crisis in Roberto
  Clemente Park and the other nearby sites, 2) the systematic neglect of our community parks, and 3)
  provide safe and convenient summer programming for our communities’ youth. The Town’s actions
  should include, but not be limited to, the following steps:
        1. The Town must take every possible action to promptly clean up the asbestos-ridden waste in
           Roberto Clemente Park and all other dumping sites and address all environmental and public
           health consequences.
        2. The Town must allocate its programmatic funds to operate summer programs at Roberto
           Clemente Park (and any other affected parks) to local agencies with a strong track record of
           summer youth programming to provide services at no cost to all young people in all affected
           areas. The Town shall work with local institutions, including the Brentwood and Central
           Islip Union Free School Districts, Suffolk County Community College (Brentwood), and the
           New York Institute of Technology (Central Islip). We understand that Legislator Martinez
           has presented this idea to you, and we fully support her proposal.
        3. The Town must immediately clean up and repair all nearby parks to ensure that local
           residents have access to green space. First priority should go to parks closest to Roberto
           Clemente Park, including, but not limited to:
            Noble Street Park (Brentwood);
            Michael Cacciuttolo Park (Brentwood); and
            Lowell Avenue Park (Central Islip).
        4. Undertake aggressive efforts to inform local residents of progress on each of these critical
           issues, via door-to-door canvassing, mailings, and print and social media in all languages
           spoken by local residents, as required by Title VI of the Civil Rights Act.
  We recommend these actions as critical first steps that the Town of Islip should take to 1) respond
  to the recent devastation in our community and 2) address the systematic neglect of our
  communities’ recreational facilities.



  CC:              Legislator Mónica Martínez, Suffolk County Legislature




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